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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 SUDDEN SERVICE, INC.,

                        Plaintiff,
                                                          CIVIL CASE NO. 06-15649
 v.                                                       HON. MARIANNE O. BATTANI

 BROCKMAN FORKLIFTS, INC., and
 EDWARD W. BROCKMAN, individually,

                        Defendants.

 _________________________________________/

           OPINION AND ORDER GRANTING DEFENDANTS’ MOTION
       FOR PARTIAL SUMMARY JUDGMENT AND GRANTING IN PART AND
       DENYING IN PART PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

 I.     INTRODUCTION

        Before the Court is Defendant’s Motion for Partial Summary Judgment (Doc. #63) and

 Plaintiff’s Motion for Summary Judgment (Doc. # 64). Both parties argue that summary

 judgment is appropriate with regard to Plaintiff’s claims of breach of contract, fraudulent

 transfer/improper distribution, and assorted tort claims arising from the breach of contract claim.

        Because the claims of conversion, silent fraud, and unjust enrichment against Defendants

 are not distinct from the breach of contract claim, Defendant’s Motion for Partial Summary

 Judgment is GRANTED as to those claims. Because the claims for breach of fiduciary duty and

 wrongful dissolution are without merit, Defendant’s Motion for Partial Summary Judgment is

 GRANTED as to those claims. Because the breach of contract claim is undisputed, Plaintiff's

 Motion for Summary Judgment is GRANTED as to that claim. Finally, because the evidence



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 does not establish a fraudulent transfer or an improper distribution, Defendant’s Motion for

 Partial Summary Judgment is GRANTED as to those claims.



 II.    STATEMENT OF FACTS

        Plaintiff Sudden Services International (a machine parts dealer) and Defendants

 Brockman Forklifts International (“BFI”, a forklift dealer) and Edward W. Brockman

 (“Brockman”, the president and sole shareholder of BFI) had a longstanding business

 relationship. Under a 1991 sales agreement between Plaintiff and BFI, BFI had an open account

 to order forklift parts and Plaintiff would add the cost of the parts to BFI’s account, with the bill

 payable monthly.

        BFI began having trouble paying its creditors (particularly Bank One and other lenders)

 in 2001. Between 2001 and 2003, Brockman, the sole shareholder, contributed approximately

 $447,000 in various payments to BFI. In June 2003, after these payments were made, Brockman

 executed a loan agreement and security interest with BFI, establishing that these prior payments

 were loans, and that Brockman was a secured creditor of BFI.1 There is no evidence that BFI

 ever paid Brockman the $6,000 per month as required under the terms of the note, and the loan

 agreement contains no maturity date.

        In March 2005, BFI ceased paying Plaintiff’s bill, and Plaintiff sent BFI demand letters

 in May, June and September of 2005 for payment of the approximately $104,000 owed to

 Plaintiff. Shortly thereafter, BFI entered into dissolution. Between March 2005 and June 2005,



        1
            Defendants provided a draft promissory note and a security agreement for the loan, as
 Defendants allege that the signed promissory note was destroyed due to water damage.

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 four payments totaling approximately $145,000 were made to Brockman by BFI, and

 approximately $254,0002 worth of BFI's physical assets (the remaining forklift fleet) were

 transferred to Brockman. BFI and Brockman justify the transfers as payments towards

 Brockman's loan.

        Plaintiff filed a complaint in December 2006, the complaint was subsequently amended

 three times, and the current iteration claims the following: (1) breach of contract (against BFI)3,

 (2) statutory and common law conversion (against both defendants), (3) unjust enrichment (both

 Defendants), (4) silent fraud (Brockman), (5) fraudulent transfer (both Defendants)4, (6)

 distribution in violation of the Michigan Business Corporation Act (Brockman), (7) wrongful

 dissolution (BFI), and (8) breach of fiduciary duty (Brockman).



 III.   STANDARD OF REVIEW

        Federal Rule of Civil Procedure 56(c) authorizes the Court to grant summary judgment

 “if the pleadings, depositions, answers to interrogatories and admissions on file, together with


        2
            Plaintiff claims that this figure is undervalued, as Defendant Brockman soon sold half
 of the remaining viable forklifts for $280,000.
        3
            Plaintiff also alleges “Action on Account Stated” as Count II, which charges Defendant
 with refusing to settle its account with Plaintiff. This is a doctrine used in breach of contract
 claims, and not a separate cause of action. R. G. Moeller Co. v. Van Kampen Const., 225
 N.W.2d 742, 744 (Mich. Ct. App. 1975).
        4
            Plaintiff further alleges “Piercing the Corporate Veil” as Count X, with regard to
 Defendant Brockman’s allegedly fraudulent transfers. Similar to the previous footnote, veil-
 piercing is a doctrine allowing recovery of damages from a corporation’s shareholder, and not a
 cause of action. Klager v. Robert Meyer, 329 N.W.2d 721 (Mich. 1982).

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 the affidavits, if any, show that there is no genuine issue as to any material fact and that the

 moving party is entitled to a judgment as a matter of law.” There is no genuine issue of material

 fact if there is no factual dispute that could affect the legal outcome on the issue. Anderson v.

 Liberty Lobby, Inc., 477 U.S. 242, 248-49 (1986). In other words, the movant must show he

 would prevail on the issue even if all factual disputes are conceded to the non-movant.

 Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

        Accordingly, in the instant case, this Court evaluates the motions with the rule that it

 should defer to the opposing parties’ factual account whenever that account clashes with the

 movant’s. The Court must keep in mind, however, that the opposing party “may not rest upon

 the mere allegations or denials of [his] pleading, but... must set forth specific facts showing that

 there is a genuine issue for trial” Anderson, 477 U.S. at 248 (internal quotations and citation

 omitted).



 IV.    ANALYSIS

                                        1. Breach of Contract

        As a preliminary matter, both parties agree that Defendant BFI breached the sales

 contract with Plaintiff when it refused to pay for the final shipments of parts, and Defendant BFI

 is liable for the damages therefrom (approximately $104,000). As such, the Court will grant

 summary judgment in favor of Plaintiff on this claim.



                        2. Conversion, Unjust Enrichment and Silent Fraud




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        “[T]he law in Michigan is well-settled that an action in tort requires a breach of duty

 separate and distinct from a breach of contract." Brock v. Consolidated Biomedical Labs, 817

 F.2d 24, 25 (6th Cir.1987) (citing Haas v. Montgomery Ward & Co., 812 F.2d 1015 (6th

 Cir.1987)). Where a plaintiff's cause of action arises from the breach of a contractual obligation,

 the appropriate claim is in contract, not tort. Brewster v. Martin Marietta Aluminum Sales, Inc.,

 378 N.W.2d 558 (Mich. App. 1985). In Brewster, the Court held that the plaintiff's cause of

 action was in contract, not in tort because “[a] relationship did not exist ... which would give rise

 to a legal duty without enforcement of the contract promise itself.” Brewster, 378 N.W.2d at 569.

 See also Hart v. Ludwig, 347 Mich. 559, 565, 79 N.W.2d 895 (1956) (“if a relation exists which

 would give rise to a legal duty without enforcing the contract promise itself, the tort action will

 lie, otherwise not”).

        The tort of conversion is “any distinct act of domain wrongfully exerted over another's

 personal property in denial of or inconsistent with the rights therein.” Foremost Ins. Co. v.

 Allstate Ins. Co., 486 N.W.2d 600, 606 (Mich. 1992). Statutory conversion, by contrast, consists

 of knowingly “buying, receiving, or aiding in the concealment of any stolen, embezzled, or

 converted property.” MICH. COMP. LAWS § 600.2919(a). Plaintiff’s primary argument is that

 Defendant Brockman’s receipt of the money with the intent to not pay Plaintiff establishes the

 conversion claims.

        To support an action for conversion of money, the defendant must have an obligation to

 return the specific money entrusted to his care. Check Reporting Services, Inc. v. Michigan Nat'l

 Bank-Lansing, 478 N.W.2d 893, 900 (Mich. Ct. App. 1991). It is clear that when the dispute is

 over moneys owed, conversion is only applicable in cases involving money that is the property


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 of one party but held by another party (e.g., bank accounts, trusts, etc.) which is then wrongfully

 taken. See Trail Clinic, PC v. Bloch, 319 N.W.2d 638 (Mich. Ct. App. 1982) (allowing a

 conversion claim when one party appropriated checks payable to another party); Rennie v.

 Pentagon Refining Co., 273 N.W. 325 (Mich. 1937) (conversion found where one party

 appropriated funds from another party’s brokerage account). Here, the facts do not support the

 claim of conversion with regards to either the breach of contract or the transfer of funds and

 assets. Plaintiff did not entrust specific moneys to the care of Defendant; instead, Plaintiff and

 Defendant engaged in the sale and purchase of goods according to an express contract. Because

 Plaintiff’s cause of action arises from the breach of the contract (and not the appropriation of

 specific funds in violation of a separate legal duty), Plaintiff’s conversion claim fails.

        Similarly, the unjust enrichment claim must be dismissed. Under Michigan law, if a

 plaintiff establishes the receipt of a benefit and a resulting inequity, then “the law will imply a

 contract in order to prevent unjust enrichment.” Belle Isle Grill Corporation v. City of Detroit,

 666 N.W.2d 271, 280 (Mich.App.2003) (internal citations omitted). “However, a contract will

 be implied only if there is no express contract covering the same subject matter.” Id. Because

 there is an express contract in the case at hand, there can be no unjust enrichment, and summary

 judgment is granted on this count.

        Finally, Plaintiff’s claims for silent fraud similarly fail. Plaintiff’s entire argument

 surrounding the silent fraud is that Defendants had a contractual duty to disclose their financial

 state to Plaintiff. This duty, however, arises out of the contract that is the subject of the breach

 of contract claim. Similarly, the damage done by the alleged non-disclosure is simply the

 monetary damage from Plaintiff’s breach of the contract. Because this claim involves no legal


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 duty separate from the contract, summary judgment on the silent fraud claim is granted. See

 Hart, 347 Mich. at 565.



                           3. Fraudulent Transfer/Improper Distribution

        Plaintiff contends that Brockman’s payments to BFI were equity contributions to keep

 the business from defaulting and exposing Brockman to liability. Under this theory, BFI’s

 transfer of funds and distribution of assets to Brockman in dissolution constituted a fraudulent

 transfer under the Michigan Uniform Fraudulent Conveyance Act (“UFCA”) and/or an invalid

 distribution under the Michigan Business Corporations Act (“BCA”). However, the Court finds

 that the evidence establishes Brockman’s payments as loans, and therefore the distributions

 qualify as payments to a secured creditor.

        The UFCA arms creditors with grounds for invalidating certain payments made by a

 financially troubled corporation. In re Peet Packing Co., 231 B.R. 42, 45 (Bankr. E.D. Mich.

 1999). See MICH. COMP. LAWS § 566.14 (“Every conveyance made ... by a person who is or will

 be thereby rendered insolvent is fraudulent as to creditors ... if the conveyance is made ... without

 a fair consideration”); MICH. COMP. LAWS § 566.16 (“Every conveyance made ... without fair

 consideration when the person making the conveyance ... intends or believes that he will incur

 debts beyond his ability to pay as they mature, is fraudulent as to ... creditors”); see also MICH.

 COMP. LAWS §§ 566.19(1)(a) and 566.20(c) (giving creditors the power to “set aside” a

 fraudulent conveyance).

        The BCA provides analogous protection for corporate creditors with respect to

 distributions. In re Peet, 231 B.R. at 46. That act states that “[a] distribution shall not be made


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 if, after giving it effect, the corporation would not be able to pay its debts as the debts become

 due ... or the corporation's total assets would be less that the sum of its total liabilities.” MICH.

 COMP. LAWS § 450.1345(3). See also MICH. COMP. LAWS § 450.1855 (“Before making a

 distribution of assets to shareholders in dissolution, a corporation shall pay or make provision for

 its debts, obligations, and liabilities”).

         Both the BCA and the UFCA address the problem of payments made to the detriment of

 a corporation's creditors, with the BCA addressing distributions and the UFCA addressing

 transfers and conveyances. In re Peet, 231 B.R. at 45-46.

         As a preliminary matter, Defendant’s argument that all Plaintiff’s tort claims relate to the

 breach of contract claim and therefore should be dismissed is not applicable to these claims. The

 duty being breached in fraudulent transfer and improper distribution is separate and distinct from

 the duty imposed on Defendants by the sales contract, and therefore it is not barred by

 Michigan’s prohibition on contract-based torts. Brock, 817 F.2d at 25. In this case, the injury

 alleged by Plaintiff is not the nonpayment of money under the sales contract, but the transfer of

 money and assets preventing Plaintiff from recovering money from Defendant BFI as a creditor.

 Therefore, Plaintiff’s claims of fraudulent transfer and improper distribution will not be

 dismissed along with Plaintiff’s other tort claims for this reason, and the Court will examine the

 nature of the payments.

         Both parties acknowledge that a transfer of money and a distribution of assets from BFI

 to Brockman occurred during the dissolution of BFI. Therefore, the dispositive question for the

 Court to consider is whether the payments by Brockman to BFI were equity contributions or

 loans to the business. “If a conveyance is made to satisfy an alleged antecedent debt which is


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 not shown to have existed, then fair consideration is lacking, under the [UFCA], and the

 conveyance may be set aside.” Retirement Ben. Plan of Graphic Arts Intern. Union Local 20-B

 v. Standard Bindery, 654 F.Supp. 770, 774 (E.D. Mich. 1986) (citing MICH. COMP. LAWS §

 566.19; Plymouth United Savings Bank v. Lee, 270 N.W. 781 (1936). Similarly, it is a violation

 of the BCA to distribute assets to shareholders during or after dissolution of the corporation

 “without paying, or adequately providing for all known debts, obligations, and liabilities of the

 corporation.” Id. (citing MICH. COMP. LAWS § 450.1551). Therefore, if Brockman’s

 contribution was equity (and not debt), Defendants would be in violation of the UFCA and the

 BCA.

         The Sixth Circuit has laid out a test to determine if a capital contribution is debt or

 equity. It requires the Court to analyze the following factors: (1) the names given to the

 instruments, if any, evidencing the indebtedness; (2) the presence or absence of a fixed maturity

 date and schedule of payments; (3) the presence or absence of a fixed rate of interest and interest

 payments; (4) the source of repayments; (5) the adequacy or inadequacy of capitalization; (6) the

 identity of interest between the creditor and the stockholder; (7) the security, if any, for the

 advances; (8) the corporation's ability to obtain financing from outside lending institutions; (9)

 the extent to which the advances were subordinated to the claims of outside creditors; (10) the

 extent to which the advances were used to acquire capital assets; and (11) the presence or

 absence of a sinking fund to provide repayments. Roth Steel Tube Co. v. C.I.R., 800 F.2d 625,

 630 (6th Cir. 1986).

         Applying the Sixth Circuit’s test to the evidence presented by the parties, the Court finds

 that:


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             (1)   The payments by Brockman to BFI were formalized as a loan, with a

                   security agreement and promissory note. This weighs in favor of debt.

             (2)   There is no maturity date given for the loan, and while monthly payments

                   are contemplated, Defendant has presented no evidence that monthly

                   payments were made. This weighs in favor of equity. See Lane v. United

                   States, 742 F.2d 1311, 1316 (11th Cir.1984).

             (3)   The loan agreement specifies the payment of interest to Brockman on the

                   loan at a rate of six percent. This weighs in favor of debt. See Stinnett's

                   Pontiac Service v. Commissioner, 730 F.2d 634, 640 (11th Cir. 1984).

             (4)   There is no evidence that repayments were expected to be made out of BFI

                   earnings or were dependent on BFI’s success (which would be evidence of

                   equity). This weighs slightly in favor of debt.

             (5)   Plaintiff and Defendant have presented competing evidence as to BFI’s

                   financial situation. The evidence shows that BFI was struggling as a

                   business, but does not support a conclusion that BFI was undercapitalized.

                   This weighs in favor of debt.

             (6)   When all the stockholders contribute money equally, it is evidence of

                   equity. Roth Steel, 800 F.2d at 630. However, there is only one

                   stockholder here, so the rule is inapplicable. This does not weigh on

                   either side.

             (7)   Brockman and BFI eventually executed a security agreement to protect

                   Brockman’s contributions to BFI. This weighs in favor of debt.


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                 (8)    The contributions were made for the purpose of paying off debts that BFI

                        could not repay on its own. It is unlikely that BFI could have obtained

                        outside sources of credit on its own. This weighs in favor of equity.

                        Estate of Mixon v. U.S., 464 F.2d 394, 410 (5th Cir. 1972).

                 (9)    The contributions were not subordinated to other creditors, which would

                        indicate equity. Instead, Brockman sought a security interest to prioritize

                        his repayment. This weighs in favor of debt.

                 (10)   The contributions were used to pay down prior loans and business

                        expenses, rather than used on capital assets. This weighs in favor of debt.

                 (11)   There is no evidence that BFI ever established any kind of sinking fund

                        for the purposes of paying off Brockman’s contribution. This weighs in

                        favor of equity. Austin Village v. U.S., 432 F.2d 741, 745 (6th Cir. 1970).



         Taken together, these factors indicate that Brockman’s payments to BFI should be treated

  as loans rather than as equity contributions. Brockman formalized his payments as loans,

  executed a security agreement to protect them, and the available evidence demonstrates that he

  treated the payments as loans and that he intended to be repaid for his contributions. As such,

  the transfer of $145,000 from BFI to Brockman qualifies as repayment of a loan, rather than a

  fraudulent transfer under the UFCA; likewise, the distribution of $254,000 of assets from BFI to

  Brockman constitutes a repayment to a secured creditor instead of an improper distribution under

  the BCA. Summary judgment is therefore granted in favor of Defendants on these claims.




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                                    4. Piercing the Corporate Veil

         A court may lift the corporate veil if it finds “‘substantial reasons for doing so’” after

  weighing the following factors: “(1) the amount of respect given to the separate entity of the

  corporation by its shareholders; (2) the degree of injustice visited on the litigants by recognition

  of the corporate entity; and (3) the fraudulent intent of the incorporators.” Laborers’ Pension

  Trust Fund v. Sydney Weinberger Homes, 872 F.2d 702, 704 (6th Cir. 1988) (citation omitted).

  In deciding whether to pierce the corporate veil, the court may also consider the following

  “nonexhaustive list of specific factors including undercapitalization of the corporation, the

  maintenance of separate books, the separation of corporate and individual finances, the use of the

  corporation to support fraud or illegality, the honoring of corporate formalities and finally,

  whether the corporation is a sham.” In re Michigan Carpenters Council Health and Welfare

  Fund, 933 F.2d 376, 385 n. 6 (6th Cir. 1991) (citation omitted).

         Plaintiff here attempts to pierce the corporate veil of BFI to reach Defendant Brockman,

  but fails to meet the necessary standards. In Weinberger, the Sixth Circuit found that there was

  substantial reason to lift the corporate veil because the sole shareholder had loaned money to the

  corporation with no formal agreements, paid corporation expenses out of his pocket, had the

  corporation pay his own expenses, withdrew money from the corporation before its dissolution

  before some creditors were paid, and generally failed to maintain adequate expense records.

  Weinberger, 872 F.2d at 704. Though Defendant Brockman transferred capital to BFI during a

  time of crisis and withdrew money during dissolution prior to creditors being paid, Plaintiff’s

  case is weaker than that in Weinberger. There was a formal loan agreement between BFI and

  Brockman, there is no evidence that BFI paid Brockman’s personal expenses or vice versa, and


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  (with the exception of the missing signed promissory note) there are adequate expense records

  documenting BFI’s business. As the Sixth Circuit has explained, “intermingling of assets and

  the failure to maintain corporate records” are “the most important factors” in determining

  whether the corporate form was disregarded. N.L.R.B. v. Fullerton Transfer & Storage Ltd., 910

  F.2d 331, 341 (6th Cir. 1990). There is no evidence that either of those has occurred here, and

  therefore the first factor is unlikely to be satisfied.

          Furthermore, Plaintiff presents no evidence that Defendants intended to operate BFI

  fraudulently. Instead, the evidence presented shows that Brockman ran the corporation in a

  normal manner for a number of years. There is simply not enough evidence presented to support

  the claim that the corporation was a sham. For these reasons, the Plaintiff has not met the

  necessary burden to pierce the corporate veil, and summary judgment is granted for Defendants

  on this issue.



                         5. Wrongful Dissolution and Breach of Fiduciary Duty

          Plaintiff has largely abandoned these remaining counts, and does not argue for them in

  either Plaintiff’s Motion for Summary Judgment or Plaintiff’s Response to Defendants’ Motion

  for Summary Judgment. The Court finds that Plaintiff cannot maintain a claim for breach of

  fiduciary duty, as they have presented no evidence at all that either Defendant owed Plaintiff a

  fiduciary duty. Nor can Plaintiff maintain his claim for wrongful dissolution, as wrongful

  dissolution is a cause of action for aggrieved shareholders in a corporation (or partners in a

  partnership) who are injured by the dissolution of a going concern. As Plaintiff provides no




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  evidence or argument to support these claims, the Court grants summary judgment and dismisses

  these claims.




  V.     CONCLUSION

         Accordingly, IT IS HEREBY ORDERED that the Defendant's Motion for Partial

  Summary Judgment is GRANTED and the claims of conversion, silent fraud, unjust enrichment,

  wrongful dissolution, breach of fiduciary duty, fraudulent transfer, and improper distribution are

  DISMISSED. IT IS FURTHER ORDERED that Plaintiff's Motion for Summary Judgment is

  GRANTED as to the breach of contract claim against Defendant BFI and DENIED as to the

  other claims.

         IT IS SO ORDERED.



                                               s/Marianne O. Battani
                                               MARIANNE O. BATTANI
                                               UNITED STATES DISTRICT JUDGE




  DATED: June 6, 2008




                                  CERTIFICATE OF SERVICE

         Copies of this Order were served upon counsel of record on this date by ordinary mail

  and/or electronic filing.


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                                            s/Bernadette M. Thebolt
                                            DEPUTY CLERK




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